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     November 01, 2021TRACY L. WILKISON
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12
     Attorneys for Plaintiff
13   UNITED STATES OF AMERICA
14                            UNITED STATES DISTRICT COURT
15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17              Plaintiff,                     ORDER FOR SOFTWARE TECHNOLOGY, LLC
                                               TO PROVIDE TECHNICAL ASSISTANCE TO
18                    v.                       RESTORE TABS DATA
19   MICHAEL JOHN AVENATTI,
20              Defendant.
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23         The Court has read and considered the Ex Parte Application for
24   an Order for Software Technology, LLC to provide technical assistance
25   to restore Tabs data, filed by the government in this matter.
26         THEREFORE, FOR GOOD CAUSE SHOWN:
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 1          1.   Software Technology, LLC, can provide technical assistance

 2   to the Prosecution Team1 and defendant, including advising on how to

 3   restore and/or convert Tabs3 data using previous versions of the

 4   software to the current version of Tabs3 software and, if any data is

 5   corrupt, providing specialist support to work on the data directly

 6   for the purpose of restoring the data and converting it to the

 7   current version of Tabs3 software, as it relates to any Tabs data

 8   concerning Geoffrey Johnson, Alexis Gardner, Gregory Barela, Michelle

 9   Phan, and Long Tran obtained from forensic copies of the Eagan

10   Avenatti LLC servers.

11          2.   Software Technology, LLC, can provide technical assistance

12   to the Privilege Review Team2 and defendant, including advising on

13   how to restore and/or convert Tabs3 data using previous versions of

14   the software to the current version of Tabs3 software and, if any

15   data is corrupt, providing specialist support to work on the data

16   directly for the purpose of restoring the data and converting it to

17   the current version of Tabs3 software, as it relates to any Tabs data

18   obtained from forensic copies of the Eagan Avenatti LLC servers.

19          IT IS SO ORDERED.

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22       November 01, 2021
23       DATE                                  HONORABLE JAMES V. SELNA
                                               UNITED STATES DISTRICT JUDGE
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     1 The Prosecution Team includes Assistant United States Attorneys
     Brett A. Sagel and Alexander C.K. Wyman and Special Agents Remoun
27   Karlous, James Kim, and Ryan Roberson.
     2 The Privilege Review Team includes Assistant United States Attorney
28   Patrick Fitzgerald and Special Agent Nshan Tashchyan.
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 2   Presented by:

 3
          /s/
 4    BRETT A. SAGEL
      ALEXANDER C.K. WYMAN
 5    Assistant United States Attorneys
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